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                UNITED STATES COURT OF INTERNATIONAL TRADE


 KISAAN DIE TECH PRIVATE LIMITED,
 ET AL.,
                                                            Court No. 21-00512
                        Plaintiffs,                         (Lead Case)

        v.                                                  Court Nos. 21-540 & 21-542
                                                            (Member Cases in Consolidated
 UNITED STATES OF AMERICA,                                  Appeals)

                        Defendant,

        v.

 COALITION OF AMERICAN FLANGE
 PRODUCERS,


                        Defendant-Intervenor.


                 COALITION OF AMERICAN FLANGE PRODUCERS’
               MOTION TO WITHDRAW AS DEFENDANT-INTERVENOR

       The Coalition of American Flange Producers (“Coalition”) hereby moves to withdraw from

the above-captioned proceedings as Defendant-Intervenor. The Coalition no longer has an interest

in the consolidated appeals. Therefore, the Coalition respectfully requests that the Court grant this

motion and permit the Coalition to withdraw as Defendant-Intervenor in these actions.



                                                  Respectfully submitted,

                                                  /s/ Daniel B. Pickard
                                                  Daniel B. Pickard
                                                  Buchanan Ingersoll & Rooney PC
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                                                  Washington DC 20006-3807

                                                  Counsel for the Coalition of American Flange
                                                  Producers
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                                         ORDER

      Upon consideration of the Coalition of American Flange Producers’ (“Coalition”) Motion

to Withdraw, it is hereby ORDERED that the motion is GRANTED, and the Coalition’s position

as Defendant-Intervenor is TERMINATED in the above-captioned consolidated actions.




                                                BY THE COURT:



                                                __________________________
